

People v Otero (2016 NY Slip Op 07759)





People v Otero


2016 NY Slip Op 07759


Decided on November 17, 2016


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 17, 2016

Acosta, J.P., Renwick, Moskowitz, Feinman, Kahn, JJ.


1444N/12 2232 996/13 2231

[*1]The People of the State of New York, Respondent,
vBryan Otero, Defendant-Appellant.


Richard M. Greenberg, Office of the Appellate Defender, New York (Margaret E. Knight of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Hope Korenstein of counsel), for respondent.



Judgment, Supreme Court, New York County (Edward J. McLaughlin, J.), rendered August 1, 2013, as amended October 3, 2013, convicting defendant, upon his plea of guilty, of criminal possession of a controlled substance in the third degree; and judgment, same court and Justice, rendered August 1, 2013, as amended October 28, 2013, convicting defendant, upon a plea of guilty, of criminal sale of a controlled substance in the third degree, and sentencing him to an aggregate term of six years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of reducing the sentence for the sale conviction to a term of four years, with two years' postrelease supervision, and otherwise affirmed.
We find the sentence excessive to the extent indicated.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: NOVEMBER 17, 2016
CLERK








